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12                        UNITED STATES DISTRICT COURT
13                       CENTRAL DISTRICT OF CALIFORNIA
14

15   IN RE: NATIONAL FOOTBALL                 Case No.: 2:15-ml-02668-PSG (JEMx)
     LEAGUE’S “SUNDAY TICKET”
16   ANTITRUST LITIGATION
17
                                              MEMORANDUM IN SUPPORT OF
18   THIS DOCUMENT RELATES TO ALL             PLAINTIFFS’ MOTION TO
     ACTIONS                                  EXCLUDE THE OPINIONS OF
19                                            MARK A. ISRAEL
20                                            JUDGE: Hon. Philip S. Gutierrez
                                              DATE: January 27, 2023
21                                            TIME: 1:30 p.m.
                                              COURTROOM:
22                                                First Street Courthouse
                                                  350 West 1st Street
23                                                Courtroom 6A
                                                  Los Angeles, CA 90012
24

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28            REDACTED VERSION OF DOCUMENT PROPOSED TO BE
                            FILED UNDER SEAL

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         933 F.3d 1136 (9th Cir. 2019), cert denied sub nom. NFL v. Ninth
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 1                                    INTRODUCTION
 2         The NFL 1 has proffered the opinions of Dr. Mark A. Israel 2 to support the
 3   argument that class certification is not appropriate in this action because
 4   individualized determinations are required to determine antitrust injury and
 5   damages for class members. However, the touchstone attribute for admission of
 6   expert testimony is that it should “help the trier of fact,” see Fed. R. Evid. 702, and
 7   Dr. Israel’s opinions are demonstrably unhelpful for their professed purpose. Many
 8   of Dr. Israel’s opinions are irrelevant, unsupported and unreliable, or simply wrong
 9   as a matter of law or fact—as well as untethered to the governing Ninth Circuit
10   decision in this case—and they should properly be excluded from consideration.
11   Moreover, because those opinions constitute fundamental premises underlying all
12   of Dr. Israel’s conclusions and otherwise so permeate his analysis, this Court
13   properly should disregard the Israel Report entirely.
14                                     BACKGROUND
15         Dr. Israel’s opinions are expressly intended to address whether
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17                               See Israel Report ¶ 6.
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24         In order to demonstrate that class certification is inappropriate, Dr. Israel
25   contends that Plaintiffs’ methods to demonstrate class-wide injury from the
26   1
      Throughout this brief, Plaintiffs use “NFL” to refer to the NFL Defendants.
27   2
      See generally Declaration of Scott Martin in Support of Plaintiffs’ Motion to
28
     Exclude the Opinions of Mark A. Israel (“Martin Decl.”) Ex. 1 (Expert Report of
     Mark A. Israel, Ph.D.) (“Israel Report”).
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 1   challenged conduct and to quantify damages must satisfy a
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18                                  LEGAL STANDARD
19         Consistent with Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 597
20   (1993), a court must ensure that expert testimony “both rests on a reliable
21   foundation and is relevant to the task at hand” before it can be considered by the
22   trier of fact under Federal Rule of Evidence 702. The Daubert standard applies to
23   the reliability and relevance of expert testimony offered in the class certification
24   context. See Ellis v. Costco Wholesale Corp., 657 F.3d 970, 982 (9th Cir. 2011).
25   “In determining the reliability of proffered expert testimony, the district court’s task
26   ‘is to analyze not what the experts say, but what basis they have for saying it.’”
27   Turner v. ThyssenKrupp Materials, N.A., 492 F. Supp. 3d 1045, 1049 (C.D. Cal.
28   2020) (quoting Daubert v. Merrell Dow Pharm., Inc., 43 F.3d 1311, 1316 (9th Cir.

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 1   1995) (“Daubert II”)). Here, expert opinions that do not address “issues relevant to
 2   class certification” are irrelevant. See Dobrosky v. Arthur J. Gallagher Service Co.,
 3   LLC, No. EDCV 13-0646, 2014 WL 10988092, at *3 (C.D. Cal. July 30, 2014).
 4                                           ARGUMENT
 5   I.       Dr. Israel’s Application of His “Completeness Principle” Improperly
 6            Introduces Speculation and Irrelevancies to the But-For World Analysis
 7            Dr. Israel states that he is
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13                                            Id. 41:19-42:15. But as discussed below, Dr.
14   Israel’s application of his “Completeness Principle” here demands more than the
15   law and common sense would require in any formulation of a but-for world.
16            The “rigorous analysis” that is to be undertaken by a district court in deciding
17   whether to certify a class “requires judging the persuasiveness of the evidence
18   presented for and against certification.” Olean Wholesale Grocery Cooperative,
19   Inc. v. Bumble Bee Foods LLC, 31 F.4th 651, 784 (9th Cir. 2022) (en banc)
20   (emphasis added, internal quotations omitted). Dr. Israel’s opinions, however, do
21   not constitute the sort of factual evidence that the Court can evaluate for
22   persuasiveness. Dr. Israel simply hypothesizes all manner of possibilities—many
23   unsupported and unreliable, as well as irrelevant—which he contends that
24   3
          Indeed,
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               See Israel Report at p. 155.
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28
                                                                   Compare Israel Dep.
     109:11-22 with In re NFL Sunday Ticket Antitrust Litig., 933 F.3d at 1155.
                                                  3
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 1   Plaintiffs’ experts should have imagined as conceivable permutations and therefore
 2   should have demonstrated their effect (or lack thereof) one by one in order to
 3   satisfy Dr. Israel’s “Completeness Principle.” Plaintiffs bear no such burden.
 4         To illustrate, Dr. Israel claims that Plaintiffs
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 9   Dr. Israel’s assertion is bare of any support—statistical, survey, testimonial,
10   anecdotal or otherwise—and is thus unreliable. When assessing the reliability of a
11   proffered expert’s testimony, the Court must “analyze not what the experts say, but
12   what basis they have for saying it.” Daubert II., 43 F.3d at 1316. “[N]othing in
13   Daubert or the Federal Rules of Evidence requires a district court to admit opinion
14   evidence that is connected to existing data only by the ipse dixit of the expert.”
15   Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997).
16         Of course, Dr. Israel’s speculation also ignores common sense. Most people
17   go to sports bars for the social camaraderie, multiplicity of screens and games being
18   shown, food and beverage service, and various other reasons that individuals may
19   frequent such businesses—which readily attract patrons for college football and
20   other sports available on free television, including of course, many people who go
21   to bars to watch the local NFL team play.
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 3           Dr. Israel’s absence of evidence or analysis for such opinions only
 4   underscores why such guesswork about hypotheticals should be excluded as
 5   unhelpful. In In re Elec. Books Antitrust Litig., Nos. 11 MD 2293, 12 Civ. 3394,
 6   2014 WL 1282298 (S.D.N.Y. Mar. 28, 2014), the court excluded certain opinions
 7   by defense expert Jonathan Orszag (Dr. Israel’s colleague at the Compass Lexecon
 8   firm) concerning the but-for world that he contended would have existed in the
 9   absence of the alleged conspiracy to fix the prices of e-books. The court noted that
10   Orszag’s guesses concerning sales numbers, which were based on assumptions that
11   Apple’s iBookstore would not have launched but for the conspiracy and that some
12   percentage of sales would not have occurred, “would not assist the trier of fact.” Id.
13   at *19. Dr. Israel’s bare assumptions here, which lack any quantification, merit the
14   same fate.
15           Moreover, the fact that Dr. Israel can postulate a potential feature of a
16   hypothetical but-for world does not render it relevant to class certification merely
17   because Plaintiffs’ experts did not analyze it—and particularly where Dr. Israel has
18   not done so either. As the Elec. Books court observed, in a companion opinion
19   issued the same day and approving class certification, “[i]t is unsurprising that
20   [Plaintiffs’ expert] did not develop an opinion about many of the issues that
21   [Defendants contend] are important features of a but-for world. After all, the but-
22   for world does not exist.” In re Elec. Books Antitrust Litig., No. 11 MD 2293, 2014
23   WL 1282293, at *27 (S.D.N.Y. Mar. 28, 2014); see also Roxul USA, Inc. v.
24   Armstrong World Indus., Inc., No. 17-1258, 2019 WL 1101385, at *8 (D. Del. Mar.
25   8, 2019) (certifying class where defendants asserted that plaintiffs’ expert “fail[ed]
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         There is no mention of any
                                  See Israel Report at p. 154.
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  1   to identify key features of the ‘but-for’ world,” finding such challenges appropriate
  2   for cross-examination).
  3         In addition to being unsupported, unreliable, and irrelevant to consideration
  4   of Plaintiffs’ but-for world, Dr. Israel’s speculation concerning the commercial
  5   establishments here is irrelevant to class certification on other grounds as well.
  6   Regardless of whether Dr. Israel can imagine, in a marketplace without the subject
  7   restraints, that there may be sports bars which may lose revenues because certain
  8   customers could watch games available on cable television at home, that does not
  9   change the gravamen of Plaintiffs’ allegations that the commercial class members
 10   were overcharged for the Sunday Ticket product that they purchased. Indeed, “if
 11   the fact that illegal restraints operate to the economic advantage of certain class
 12   members were enough to defeat certification, the efficacy of classwide antitrust
 13   suits—and the deterrence function they serve—would wither.” Laumann v. Nat'l
 14   Hockey League, 105 F. Supp. 3d 384, 400 (S.D.N.Y. 2015). Simply put, that is not
 15   a cognizable consideration under the antitrust laws, and so it is irrelevant to the
 16   factfinder.
 17         Dr. Israel also speculates
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  1         Dr. Israel’s speculative “opinion” concerning competitive balance is thus
  2   unreliable and unhelpful—and it is also irrelevant. Regardless of whether the NFL
  3   may wish to assert competitive balance as a procompetitive justification for its
  4   conduct at the merits stage,
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  7                                                                                     does
  8   not require individualized analysis where class members simply claim that they
  9   were overcharged for the Sunday Ticket product they purchased.
 10         Moreover, showing the importance and effect of competitive balance is the
 11   burden of Defendants here, not of Plaintiffs. It is a classic purported procompetitive
 12   justification, which the league is entitled to proffer once the Plaintiffs have shown
 13   either that the restraints at issue are naked restraints on competition, as in NCAA v.
 14   Bd. of Regents of Univ. of Oklahoma, 468 U.S. 85 (1984), or once Plaintiffs have
 15   shown anticompetitive effects under the rule of reason. Id. at 119-20 (finding that
 16   the NCAA had not met its burden of establishing the procompetitive effect on
 17   competitive balance from restraining availability of telecasts). There is no
 18   requirement that Dr. Rascher disprove Defendants’ case now (or at any point in the
 19   litigation). Nor is Dr. Rascher’s class certification opinion unreliable for failing to
 20   address such arguments in the context of a report with the limited purpose of
 21   showing that Plaintiffs can meet their burden with respect to impact and damages
 22   with methodologies common to the class. If Dr. Israel had actually conducted some
 23   analysis that showed a benefit to (economic) competition as a result of the
 24   challenged conduct’s effect on competitive balance, then perhaps Dr. Rascher
 25   would have reason to address it in reply. But since Dr. Israel has not done so, his
 26   speculations are entirely irrelevant to the task at hand.
 27         Such examples illustrate the overreach of
 28                                 which would seek to have Plaintiffs’ experts analyze

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  1   any possible contrary effect, even those that are Defendants’ burden.
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  7                           If these questions are relevant at all, it is not on this motion
  8   in this case. The damages issue here is based on a traditional overcharge theory.
  9   That is, each class member purchased a certain product—a package that gave them
 10   access to all Sunday afternoon games on DirecTV— and the task is to determine
 11   what the price of that same access to all those games would have been in a world
 12   without the restraints at issue. That requires determining how those games would be
 13   likely be offered, which requires an assessment of what purchases would be made
 14   market-wide, but it does not require the assessment of individual and hypothetical
 15   purchases by any particular class member for the class to be certified. See Olean,
 16   31 F.4th at 668-69 (the district court’s determination is whether the common
 17   question predominates, and certification is not precluded even if plaintiffs may have
 18   to prove individual damages at trial); see generally In re Disposable Contact Lens
 19   Antitrust Litig., 329 F.R.D. 336, 420-21 (M.D. Fla. 2018) (collecting cases). The
 20   only purchases by individual class members that matter to damages are the
 21   purchases they actually made in order to provide a base for calculating the
 22   overcharge.
 23         Thus, even if Dr. Israel had a basis for these suppositions, they would be
 24   legally irrelevant to the Court’s consideration of the evidence and Plaintiffs’
 25   methodology. And they are doubly incapable of assisting the trier of fact because
 26   they are without basis, as Dr. Israel repeatedly admits.        Simply put, a list of
 27   unexamined “What if?” questions fails the most basic standards of Rule 702.
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  1          And the examples of Dr. Israel’s speculation and statements devoid of
  2   support (and in numerous instances, irrelevant to class certification as well) are
  3   legion throughout his report, including, inter alia, his opinions that:
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 17          Such speculative statements, among others, permeate Dr. Israel’s report, and
 18   they demonstrate how unmoored his bare opinions are from this case. For example,
 19   the Ninth Circuit held that the set of interlocking agreements at the heart of this
 20   action “is the exact type of arrangement . . . that the Supreme Court held caused an
 21   injury to competition in the context of college football.” In re NFL Sunday Ticket
 22   Antitrust Litig., 933 F.3d at 1151 (internal quotations omitted). Notwithstanding
 23   this fact, Dr. Israel states in his report that
 24

 25          As noted above, Dr. Israel
 26                                                                                   It is
 27   possible, of course, that had he studied the issue, perhaps he could have reasonably
 28   come to a contrary conclusion concerning the NCAA. However, he did not.

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  5                                                       As for his “opinion” concerning
  6   Plaintiffs’ expert’s college football yardstick,
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  8                                       When asked why he did not think that greater
  9   popularity would logically drive greater television coverage, not less,
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 19                 In short, on this basic issue for class certification here, Dr. Israel had
 20   no basis whatsoever for disagreeing with the Ninth Circuit.
 21   II.   Dr. Israel’s Complementary Product Theory Is Not Only Unsupported,
 22         It Is Incoherent and Inconsistent
 23         There is another problem with Dr. Israel’s opinion that
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  3         But if that were true, the league and its current media partners would want
  4   more distribution of the games, not less. Their claimed need for exclusivity would
  5   be replaced with a desire for an open market designed to maximize the supposed
  6   benefits of this (erroneously claimed) complementarity.        For example, more
  7   distribution of the Sunday Ticket games would increase demand for the non-
  8   Sunday Ticket games. But as discussed below, the NFL’s long-held position, in
  9   this litigation and otherwise, is that Sunday Ticket is intentionally limited in
 10   distribution to protect the networks from competition, which is entirely at odds with
 11   the claim that these products are complements.
 12         Indeed, in 2007, the league made a presentation to the FCC in which it
 13   embraced the fact that DirecTV’s exclusivity reduced access to the games, in order
 14   to protect the networks:
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 26   Martin Decl. Ex. 3 (NFL_1060058 at NFL_1060081).
 27         Commissioner Goodell confirmed that is still the view of the NFL:
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  3                                                   Indeed, that has been a consistent theme
  4   of the NFL’s defense in this case.
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  7              But this core policy of the NFL is built on the assumption that the games
  8   are substitutes, not complements; otherwise, this decades-long policy would have
  9   been for naught. Thus, Dr. Israel’s position is not only contrary to common sense
 10   and inconsistent with the economic literature, it is nonsensical in light of the NFL’s
 11   long-held, and consistent, position in this case.5
 12   III.   Dr. Israel’s Opinions Concerning Other Markets Are Irrelevant
 13          Dr. Israel also insists that
 14

 15

 16                                                                                        He
 17   then asserts that
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 19                                                     Even assuming, arguendo, that there
 20   were merit to
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 22                                          for purposes of class certification is misguided
 23   and irrelevant.
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  1         First, it does not necessarily follow from Dr. Israel’s assumption of a
  2   weakened DirecTV that competition would suffer.
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  6                                                                                        Of
  7   course, weakened competitors also can “up their game” with price wars or other
  8   maverick actions.    Or, if such competitors are inefficient or ineffective, other
  9   competitors in the marketplace may compete harder to obtain their customers.
 10   Regardless, contrary to Dr. Israel’s concern, it is long-settled that the antitrust laws
 11   were enacted for the protection of competition, not individual competitors such as
 12   DirecTV. See Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477, 488
 13   (1977); Brown Shoe Co. v. United States, 370 U.S. 294, 320 (1962).
 14         Moreover, whether the NFL can assert the existence of procompetitive
 15   justifications in another market as part of a rule of reason argument on the merits
 16   might be a question for another day—though it bears mention that the Supreme
 17   Court has held that “[i]f a decision is to be made to sacrifice competition in one
 18   portion of the economy for greater competition in another portion, this . . . is a
 19   decision that must be made by Congress and not by private forces or by the courts.”
 20   United States v. Topco Assocs., 405 U.S. 596, 612 (1972); see also Sullivan v. Nat’l
 21   Football League, 34 F.3d 1091, 1112 (1st Cir. 1994) (suggesting that it is
 22   “improper to validate a practice that is decidedly in restraint of trade simply
 23   because the practice produces some unrelated benefits to competition in another
 24   market”).   But in any event, any such arguments are irrelevant to the class
 25   certification determination of whether a common methodology can be used to show
 26   impact and damages to class members resulting from the NFL’s anticompetitive
 27   conduct in the relevant market put at issue by Plaintiffs.
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  1                                    CONCLUSION
  2         For the foregoing reasons, the Court should exclude the opinions of Dr. Israel
  3   from consideration in connection with Plaintiffs’ Motion for Class Certification.
  4   Dated: December 2, 2022               Respectfully submitted,
  5
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